           Case 3:07-cv-05944-JST Document 4548 Filed 04/08/16 Page 1 of 2


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10                                    UNITED STATES DISTRICT COURT

11                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

12                                        SAN FRANCISCO DIVISION

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     IN RE: CATHODE RAY TUBE (CRT)                           Master File No. 3:07-CV-5944 JST
14   ANTITRUST LITIGATION                                    MDL No. 1917
     _______________________________________
15                                                           [PROPOSED] ORDER
     This Document Relates To:
16                                                           Judge:     Hon. Jon S. Tigar
     Best Buy Co. Inc. et al. v. Hitachi, Ltd. et al., No.   Courtroom: 9, 19th Floor
17   3:11-cv-05513-JST
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                                 [PROPOSED] ORDER – MASTER CASE NO. 07-CV-5944 JST
          Case 3:07-cv-05944-JST Document 4548 Filed 04/08/16 Page 2 of 2


 1          The Court, having considered the stipulation of the parties, and good cause appearing
 2   therefore, orders as follows:
 3          1.      All claims asserted by Plaintiffs Best Buy Co., Inc., Best Buy Purchasing LLC, Best
 4   Buy Enterprise Services, Inc., Best Buy Stores, L.P., BestBuy.com, L.L.C. and Magnolia Hi-Fi, LLC
 5   (collectively, “Best Buy”) against Defendants Chunghwa Picture Tubes, Ltd. and Chunghwa Picture
 6   Tubes (Malaysia) Sdn. Bhd. (collectively, “Chunghwa”) are dismissed with prejudice pursuant to
 7   Rule 41(a)(2) of the Federal Rules of Civil Procedure.
 8          2.      Each party shall bear its own costs and attorneys’ fees.
 9          3.      This Order is not a dismissal of any person or entity other than Chunghwa.
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                                                           TES D      TC
11          IT IS SO ORDERED.                            TA




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13   Dated:___________________
            April 8, 2016
                                                     IT IS S
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14                                                Hon. Jon S. Tigar
                                                  United States District Judge
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                                [PROPOSED] ORDER – MASTER CASE NO. 07-CV-5944 JST
